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Case 2:20-cr-00032-JCC Document 152 Filed 01/25/21 Page 1 of 2

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT SEATTLE

UNITED STATES OF AMERICA,
Case No. CR20-032JCC
Plaintiff,
V. DEFENDANT’S WAIVER OF IN-
PERSON APPEARANCE AND
TAYLOR ASHLEY PARKER-DIPEPPE, CONSENT TO PROCEED BY
VIDEO/TELEPHONIC
Defendant. CONFERENCE

 

 

 

 

I, Taylor Parker-Dipeppe, the above named defendant, acknowledge that I have been
advised by my lawyer and the Court — by this form -- that pursuant to the Federal Rules of
Criminal Procedure and the Sixth Amendment to the U.S. Constitution, I generally have the right
to be personally present in open court to any hearing involving a criminal proceeding to which I
am a party.

I am scheduled to have the following hearing:

Sentencing on February 24, 2021 at 9:00 a.m.

 

I have been advised by my lawyer that because of coronavirus disease 2019 (COVID-19),
the Governor of the State of Washington has issued an Emergency Proclamation and Chief Judge
Ricardo S. Martinez in the Western District of Washington has issued a General Order 02-__

regarding Emergency Hearings. As a result, I cannot currently be personally present in open

DEFENDANT’S WAIVER OF IN-PERSON APPEARANCE
AND CONSENT TO PROCEED BY VIDEO/TELEPHONIC
CONFERENCE - |

 
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Case 2:20-cr-00032-JCC Document 152 Filed 01/25/21 Page 2 of 2

court for this scheduled hearing. Therefore, I wish to waive my right to be personally present in
open court for the above-hearing(s), and acknowledge that my right to due process under the
Constitution is best protected by moving forward with the hearing(s) by video/telephonic
conference.

I have discussed with my lawyer this consent to appear and participate by
video/telephonic conference and have agreed to the same.

I have also authorized by lawyer to electronically execute this form on my behalf.

bh

Dated this [6 day of January, 2021

 

Taylor Parker-Dipeppe

DEFENDANT’S WAIVER OF IN-PERSON APPEARANCE
AND CONSENT TO PROCEED BY VIDEO/TELEPHONIC
CONFERENCE - 2

 
